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UNITED STATES DISTRICT COURT

FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

SEALED UNIT PARTS CO., INC.,
Judgment Creditor,

vs.
Case No.:8:17-mc-OOlO9-CEH-AEP

SYCOM SURGE, INC. N/K/A BREN
TUCK, INC.; MARK TUCKER; DAVID
ROSS BRENNAN; and TURNER
SOLUTIONSr INC.,

Judgment Debtors.

/

 

 

ANSWER OF GARNISHEE, AMBER SHERWOOD

 

Garnishee, AMBER SHERWOOD hereby answers the Writ of
Garnishment in the above case received by service cf process via
email on November 29, 201? and states the following:

{l) Garnishee is the current tenant residing at 450 Treasure
leland Causeway, Unit 406, Treasure Island, Florida 33?06.

(2) Garnishee entered into a Lease agreement with Debtor DAVID
ROSS BRENNAN together with his wife, BEVERLY BRENNAN for monthly
rent payment at the rate of $1,025.00 payable at the 15t of each
month.

(3) Garnishee has at the time of making this Answer, funds in
the amount of $1,025.00 owed to DAVID ROSS BRENNAN and BEVERLY
BRENNAN for rent due as of December l, 2011.

(4} Garnishee had at the time of service of the Writ, plus
sufficient time not to exceed one (l) business day, no
additional funds Owed to DAVID ROSS BRENNAN.

(5) Garnishee had at the time of service of the Writ,l plus
sufficient time not to exceed one (l) business day, at the time
of making this Answer and at all times between such periods, no

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indebtedness to MR. MARK TUCKER and/or SYCOM SURGE INC., N/K/A
BREN TUCK, INC. and/Or TURNER SOLUTIONS, INC.

(5) Garnishee has no other tangible or intangible personal
property of said Defendant in its possession or control at the
time of this Answer, and had no such property in its possession
or control at the time of service of the Writ, nor at any time
between such periods.

(6) Pursuant to Florida Statute T?.OG{Z), Garnishee does not
know of any other person, firm, or corporation which has an
ownership interest in the involved property or may have any of
the goods and possessions of said Defendant, at the time of
service of the Writ, plus sufficient time not to exceed one (l}
business day, at the time of making this Answer and at all times
between such periods, in its or their possession or control.

(7) Garnishee has no obligation to make, and has not made, a
factual determination whether the property of the Defendant{s]
in its possession or control is subject to any exemption
provided to the Defendant(s) by State or Federal Law.

(8) Garnishee has retained $1,025.00 pursuant to the writ.

CERTIFICATE OF SERVICE

 

I HEREBY Certify that a copy of this Answer has been sent to
Michael H. Moody, E.sq.ll attorney for the Judgment Creditor,
Sealed Unit Parts Co., Inc., via e- i at moodym@gtlaw.com and
by U.S. mail to c/o Greenberg Traur'g, B.A., 101 E. College \
Avenue, Tallahassee, Florida 32301, this 15T day of z

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‘M v \ a 201? \11:1 §1\\WQARQRLQ€M

AMBER M. SHERWOOD
Garnishee

450 Treasure Island Cswy
Unit 406

Treasure Island, FL 33706
(954)562-0284
ambersherwood@hotmail.com

 

cc: Deputy Clerk, United States District Court for the Middle
District of Florida; David Ross Brennan

